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                 Exhibit 2
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Charted Claim:
Method Claim: 1
           US7057960                                   NUC10i7FNHAA (“Accused Product”)
1. A method for reducing        The accused product practices a method for reducing power consumption during
power consumption during        background operations (e.g., self-refresh operation) in a memory array with a
background operations in a      plurality of sections (e.g., memory banks) comprising the steps of: controlling
memory array with a plurality   said background operations (e.g., self-refresh operation) in each of said plurality
of sections comprising the      of sections (e.g., memory banks) of said memory array in response to one or
steps of:                       more control signals, wherein said one or more control signals are generated in
controlling said background     response to a programmable address signal (e.g., address bits) and said
operations in each of said      background operations (e.g., self-refresh operation) can be enabled
plurality of sections of said   simultaneously in two or more of said plurality of sections independently of any
memory array in response to     other section.
one or more control signals,
wherein said one or more        The accused product uses a Mode Register 2 (MR2) which is loaded with address
control signals are generated   bits to decide the section(s) of the memory array on which the Self Refresh
in response to a                operation is enabled. Only after the address bits are coded in the MR2, the Self-
programmable address signal     Refresh operation is executed on the sections of the memory array.
and said background
operations can be enabled       For example, the MR2 includes Low-Power Auto Self Refresh (LPASR) bits, which
simultaneously in two or more   enable the device to perform the refresh operation in Auto Self Refresh Mode
of said plurality of sections   across the different sections of the memory array simultaneously. The LP ASR
independently of any other      bits (A7, A6) are set to “1” by using the MODE REGISTER SET (MRS) command
section; and                    such that the device manages Self Refresh entry over the supported
                                temperature range of the DRAM.

                                Further, the SELF REFRESH command initiates Self Refresh mode to refresh the
                                memory array as defined in MR2. According to the initialized LP ASR bits, the
                                refresh operation is controlled at different temperature settings in the memory
                                banks of SDRAM (DDR4) memory chip.
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          As shown below, the accused product adjusts its refresh rate to save power
          during operations such as Self Refresh operation, etc.




          https://web.archive.org/web/20210620200540/https://simplynuc.com/pre-
          configured-nucs/
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          Source: DDR4 Standard




          Source: DDR4 Standard
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          Source: DDR4 Standard




          Source: DDR4 Standard
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                               Source: DDR4 Standard




                               Source: DDR4 Standard

presenting said one or more    The accused product practices presenting said one or more control signals and
control signals and one or     one or more decoded address signals (e.g., address signals) to one or more
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more decoded address signals     periphery array circuits of said plurality of sections.
to one or more periphery array
circuits of said plurality of    The accused product has periphery array circuits such as registers, internal
sections.                        refresh counters, row address MUX etc. These periphery circuits are used to
                                 input the control (“control signals”) and address signals to the memory array
                                 cells.




                                 Source: DDR4 Standard




                                 Source: DDR4 Standard
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          Source: DDR4 Standard
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          Source: DDR4 Standard




          Source: DDR4 Standard
